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             PSJ3
           Exhibit 680
Case: 1:17-md-02804-DAP
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     1                  UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
     2                         EASTERN DIVISION
     3

          **************************
     4

          IN RE:     NATIONAL                   MDL No. 2804
     5    PRESCRIPTION OPIATE
          LITIGATION                            Case No.
     6                                          1:17-MD-2804
          *************************
     7

          THIS DOCUMENT RELATES TO              Hon. Dan A. Polster
     8    ALL CASES
     9    **************************
    10
    11           HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    12                      CONFIDENTIALITY REVIEW
    13            VIDEOTAPED DEPOSITION OF CRAIG SCHIAVO
    14
    15                  Thursday, January 17th, 2019
    16                             8:06 a.m.
    17
    18           Held At:
    19                  Omni Hotel
    20                  One West Exchange Street
    21                  Providence, Rhode Island
    22
    23    REPORTED BY:
    24    Maureen O'Connor Pollard, RMR, CLR, CSR

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     1           A.     In 2012, 2013, I don't recall.

     2    BY MR. ELSNER:

     3           Q.     Is it done today?

     4                  MS. MILLER:       Same objection, and

     5    object to form.

     6           A.     I'm not familiar with the audit

     7    process and everything that is audited.

     8    BY MR. ELSNER:

     9           Q.     Okay.    It says on Page 8 of the

    10    PowerPoint under "DEA Reporting Requirements" at

    11    the very top, it says "CVS is obligated to

    12    report orders determined to be Suspicious that

    13    were placed to our Distribution Centers," and

    14    "placed to our distribution centers" is

    15    underlined and in bold, correct?

    16           A.     I see that it is underlined, and it

    17    appears that at least part of it is in bold.

    18           Q.     Okay.    And then if you look down to

    19    the third bolded item, it reads that "Orders

    20    that are placed to an Outside Vendor that we

    21    identify as an order deviating from the normal

    22    size, frequency, and/or buying pattern and

    23    deemed to not be for legitimate purposes or are

    24    at the risk of being diverted are not required

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     1    to be reported to the DEA."

     2                  Did I read that correctly?

     3                  MS. MILLER:       Object to form.

     4           A.     That's what it says, but I don't know

     5    how we would identify an order placed to an

     6    outside vendor deviating from normal size,

     7    frequency, but I don't believe that part of our

     8    process monitoring specific orders to the OV

     9    when they are placed.

    10    BY MR. ELSNER:

    11           Q.     So I guess my first question is, does

    12    CVS have a system in place to monitor the orders

    13    that are being placed by its pharmacies, whether

    14    from the distribution center or to outside

    15    vendors for controlled substances?

    16                  MS. MILLER:       Object to form.

    17           A.     I know that CVS monitors orders of

    18    controlled substances.

    19    BY MR. ELSNER:

    20           Q.     From its pharmacies?

    21           A.     From its retail pharmacies.

    22           Q.     Okay.    And it monitors them for

    23    suspicious size, frequency, is that right?

    24                  MS. MILLER:       Object to form.

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